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                                                         Exhibit A to the Complaint
Location: Enfield, CT                                                                              IP Address: 70.172.200.253
Total Works Infringed: 49                                                                          ISP: Cox Communications
 Work         Hash                                         UTC              Site      Published        Registered       Registration
 1            9393F392C1FAD6127C883E6B75F6B58821A40410     01/25/2019       Blacked   10/22/2018       11/25/2018       PA0002136653
                                                           00:04:01
 2            01803C654FBB1DB6CA3F00CDB3615E0B0BD30FA1     01/27/2019       Tushy     07/30/2017       08/11/2017       PA0002075051
                                                           20:41:37
 3            0A63D1DC5B920F43372D8DAC44BE198EFF11836C     02/10/2019       Tushy     05/16/2017       06/22/2017       PA0002039300
                                                           17:14:23
 4            0CEAC20A97C692BE4BA6F6D3DBBBF98215436658     01/24/2019       Blacked   03/01/2018       04/12/2018       PA0002091580
                                                           01:21:09
 5            0DD3276F902204088B854E5F711DA30F5E893A61     01/08/2019       Vixen     12/05/2017       01/04/2018       PA0002097413
                                                           03:04:46
 6            13E70BE2BD89EC16AA2F48C8370B7EB6CC446C52     01/13/2019       Tushy     12/27/2017       01/23/2018       PA0002101754
                                                           17:50:29
 7            17132995D1EBE0F2361F9EEB998C6DE850DE46DE     01/21/2019       Blacked   07/04/2018       08/07/2018       PA0002131913
                                                           23:09:28
 8            1C3A83E0CEEED126BA0F4C3E44AF7AD9DFB89AE6     12/24/2018       Tushy     10/28/2018       12/10/2018       PA0002145831
                                                           14:53:39
 9            1D40D2F4C8ABDEDAE37F420DB83EA3292C19945F     12/30/2018       Tushy     03/17/2018       04/17/2018       PA0002116750
                                                           17:50:29
 10           1E67DE039B64675913542CB2412BE54790434246     02/02/2019       Blacked   04/10/2017       06/15/2017       PA0002037582
                                                           18:10:34
 11           1F93E1813574FF9ED7DE428E274DA9BB43405B3A     01/25/2019       Tushy     09/18/2017       10/09/2017       PA0002086139
                                                           00:24:05
 12           24F17708EFCAC58DF9FDADED47654864C1F4DB52     01/07/2019       Vixen     05/29/2018       07/14/2018       PA0002128390
                                                           02:54:55
 13           2A605A06D26DD7077ED45EBD649947BA09AAD98D     12/21/2018       Tushy     08/09/2018       09/05/2018       PA0002135685
                                                           16:33:00
 14           3595316CCA479043472C8512B52F63F047E77C58     12/30/2018       Tushy     04/11/2018       05/23/2018       PA0002101305
                                                           18:25:23
 15           3BAD52C8FBA09BABA328F1CDEB5FC5826AFB1B1A     01/31/2019       Tushy     10/13/2018       11/01/2018       PA0002143435
                                                           22:46:33
 16           3DA1DDE67FE163BE0128FF3E98076BECFAD985CA     01/25/2019       Blacked   11/21/2018       01/22/2019       PA0002149833
                                                           23:25:22
 17           428BF9F153D35682012EE51FBDD770EF5EE9E220     12/30/2018       Tushy     11/12/2018       12/10/2018       PA0002145826
                                                           01:13:56
                            Case 3:19-cv-00777 Document 1-1 Filed 05/21/19 Page 2 of 3
Work   Hash                                       UTC          Site       Published      Registered   Registration
18     46657A0D537BDE2011466635C4942788C9B3C075   02/10/2019   Vixen      02/13/2018     03/02/2018   PA0002104793
                                                  14:20:31
19     46FD0CAE2B1597D84469444DC7AA2195C2648A1D   01/04/2019   Blacked    11/01/2018     11/25/2018   PA0002136644
                                                  23:28:37
20     507E516DB1F7ED8BD291E77C7E357FDF30E3F23A   01/12/2019   Blacked    08/13/2018     09/05/2018   PA0002134995
                                                  16:39:03
21     5F6FB8DFB2DFD2AC9E2B50F5AEE4780448746B4F   12/30/2018   Tushy      06/10/2018     07/14/2018   PA0002128387
                                                  02:56:40
22     61C5B2788912F13F21B410A1E98951191B126004   02/11/2019   Tushy      09/03/2017     09/15/2017   PA0002052851
                                                  22:40:49
23     62DEBABF5C6E7174BC6D60794659DE722532235B   01/21/2019   Tushy      07/20/2017     08/11/2017   PA0002046869
                                                  14:27:50
24     6368304AC758D02EE749428AC3ED172D336AD275   01/25/2019   Blacked    12/01/2018     01/22/2019   PA0002149844
                                                  22:33:08
25     6677A34981ADD5ECD31DE1CA597F1FFC7F7D5D77   01/07/2019   Blacked    05/20/2018     07/14/2018   PA0002128469
                                                  02:41:40
26     66882F76290D2AB7DD93C95E6BFA4DE73EB4E64F   02/11/2019   Tushy      06/15/2017     07/07/2017   PA0002070815
                                                  22:43:54
27     673A29DD856118A485EA6E5D6A9ACEE12CE8929A   01/24/2019   Vixen      04/09/2017     06/05/2017   PA0002052836
                                                  01:20:47
28     761FDAE7BA88E7455F875AF313DB0BC926429E95   02/09/2019   Tushy      06/30/2017     07/07/2017   PA0002070818
                                                  14:18:28
29     771C669842BE814DA19F886EDF5E759B0EC4BF37   01/30/2019   Blacked    07/04/2017     07/07/2017   PA0002070819
                                                  11:45:41
30     780973D15BE6CFF0201FE4595ABA6E3BEBC5A576   01/19/2019   Vixen      11/20/2018     12/18/2018   PA0002141925
                                                  18:29:28
31     78DCED6E44212D743038C380508211E522F44CBA   12/25/2018   Vixen      11/05/2018     11/25/2018   PA0002136632
                                                  21:04:42
32     87E1EB78BA0C1020BF560F481EB765F2FB0FC8E5   02/10/2019   Blacked    06/04/2017     07/07/2017   PA0002070826
                                                  13:22:25
33     92AD5108B5C9B43BA3D1B32FE2BA8BD4AB0DCD4E   02/11/2019   Tushy      01/01/2019     02/02/2019   PA0002155376
                                                  23:23:41
34     9721A32E2CBD9B2BF2CB77378E346C80620F83E4   01/10/2019   Vixen      09/06/2017     09/15/2017   PA0002052844
                                                  23:42:49
35     9D1114F2ED6D94B73577B2D61F135B08A65E782D   02/10/2019   Blacked    11/11/2017     11/27/2017   PA0002098000
                                                  14:21:08
36     9F8CFC413DBD418163B5C506BAC7A9580DD8B47C   02/09/2019   Vixen      04/29/2017     06/15/2017   PA0002037568
                                                  13:47:12
                            Case 3:19-cv-00777 Document 1-1 Filed 05/21/19 Page 3 of 3
Work   Hash                                       UTC          Site          Published    Registered   Registration
37     A86E36BB7686CC74980BDF6A7CE08543A16711B9   02/09/2019   Vixen         06/03/2018   07/09/2018   PA0002109331
                                                  04:37:10
38     ABA6679BF8559143B35AA698BFA5B209D499EE98   02/05/2019   Tushy         01/26/2018   02/20/2018   PA0002104196
                                                  23:02:00
39     AFC531B085362979B96C312835CD0B84BC30091E   12/30/2018   Tushy         09/18/2018   10/16/2018   PA0002127779
                                                  02:55:11
40     BA0E7961B6DDEED2714E67193B52FB44D6B94F83   12/24/2018   Vixen         08/02/2017   08/17/2017   PA0002077667
                                                  23:59:44
41     BC8CCB2274A5E7EC5CC5AF8F5DC221BD4065CA2E   01/19/2019   Vixen         05/04/2017   06/16/2017   PA0002069283
                                                  06:01:40
42     BE1C986C39E269B6A3CE6F2E34AC0990906C8922   01/23/2019   Tushy         07/05/2017   07/06/2017   PA0002041555
                                                  21:35:36
43     CCE9FA128205198C6A014556AFF4DC9D7866B695   10/09/2018   Tushy         04/16/2018   06/18/2018   PA0002126681
                                                  23:45:09
44     CDB428717D9C325AE13709F5E8B856BAA09B84D4   01/19/2019   Blacked       11/26/2018   12/18/2018   PA0002141922
                                                  02:04:30
45     D54BA7AE1530D53983C45EBE20D0A536FC8CF844   01/26/2019   Blacked Raw   11/18/2018   12/10/2018   PA0002146476
                                                  18:30:13
46     D734D30068BDB61429C2667A7E57D7D4D58E8E69   12/30/2018   Tushy         01/21/2018   02/20/2018   PA0002104191
                                                  17:50:10
47     E135DF22FAE94A7DEFE4329C8BB36859890C01A5   07/14/2018   Tushy         05/21/2018   07/14/2018   PA0002131769
                                                  18:55:37
48     E6990CFF6229E49B81BC517342C9EB350EE10FB3   01/30/2019   Blacked       08/03/2018   09/01/2018   PA0002119596
                                                  00:31:19
49     FC6C3F4348C53D3DC1DDD5949FAF4EB3399C6363   01/24/2019   Tushy         05/11/2018   05/24/2018   PA0002101379
                                                  02:44:41
